                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION

THE FOUNDATION FOR
GOVERNMENT
ACCOUNTABILITY,

      Plaintiff,

v.                                       Case No.: 2:23-cv-207-JLB-KCD

U.S. DEPARTMENT OF HEALTH
AND HUMAN SERVICES,
XAVIER BECERRA, U.S.
DEPARTMENT OF LABOR,
JULIE A. SU, U.S. DEPARTMENT
OF THE TREASURY and JANET
YELLEN,

            Defendants.
                                     /

                           SCHEDULING ORDER

      The parties have submitted a stipulation agreeing that this case presents

an issue of law that should be resolved through summary judgment practice.

Accordingly, the Court enters this scheduling order that controls the

proceedings moving forward.

      As an initial matter, the Court will suspend discovery and its related

deadlines. As the parties persuasively explain, “this case can be resolved by

motion” and “no discovery is likely to be necessary in this case.” (Doc. 30 at 1,
3.) Thus, discovery will only be conducted with leave of court and at the

conclusion of the Court’s decision on summary judgment.

     This matter will otherwise proceed according to the following schedule:




A. Compliance
      Counsel and all parties (represented and pro se) must comply fully
with this Order. Motions to extend the above deadlines are disfavored.
Deadlines may be modified only for good cause and with the judge’s
consent. Also, filing a motion to extend a deadline does not toll the time to
comply with other deadlines set by rule or court order.

      All counsel and parties must comply with the Federal Rules of Civil
Procedure, the Local Rules of the United States District Court for the
Middle District of Florida, except as modified here, the Handbook on Civil
Discovery Practice in the United States District Court for the Middle
District of Florida, the United States District Court for the Middle District
Florida’s Administrative Procedures for Electronic Filing, the Florida Bar
Professionalism Expectations, and the Florida Bar Trial Lawyers Section’s
Guidelines for Professional Conduct.



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B. Consent to Magistrate Judge

      At any time during this case, the parties may consent to proceed
before the assigned Magistrate Judge to conduct some or all proceedings
(including specified motions and trial) and enter final judgment by filing
the appropriate AO85 form. A party may withhold consent without adverse
consequences.

C. Motions

    1. Certification Under Local Rule 3.01(g): Before filing most motions,
       the movant must confer with the opposing party in a good faith effort
       to resolve issue(s).1 Failure to comply with Local Rule 3.01(g) may
       cause the Court to deny or strike the motion.

       At the end of the motion and under the heading “Local Rule 3.01(g)
       Certification,” the movant:

              (A) must certify that the movant has conferred with the
                   opposing party,

              (B) must state whether the parties agree on the resolution of all
                   or part of the motion, and

              (C) if the motion is opposed, must explain the means by
                   which the conference occurred.

       For anything other than joint or unopposed motions, the term
       “confer” requires a substantive conversation in person, by telephone,
       or via videoconference. It does not envision an exchange of
       ultimatums by email or letter. Counsel who merely tries to confer
       has not “conferred.”

       If the opposing party is unavailable before the motion’s filing, the
       movant after filing must try diligently for 3 days to contact the
       opposing party. Promptly after either contact or expiration of the 3


1 A Local Rule 3.01(g) Certification is not required for a motion for injunctive relief, for
judgment on the pleadings, for summary judgment, or to certify a class. It is required for
all other motions, including Rule 12 motions to dismiss.



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   days, the movant must supplement the motion with a statement
   certifying whether the parties have resolved all or part of the motion.
   Failure to timely supplement can result in denial of the motion
   without prejudice. The purposeful evasion of a communication under
   this rule can result in sanction.

2. Failure to Respond to Motions. Under Local Rule 3.01(c), if a party
   fails to timely respond to a motion, the motion is subject to treatment
   as unopposed.

3. Motions for Summary Judgment

     a. Number of Motions: Only one motion for summary judgment
        may be filed by a party (or multiple parties represented by the
        same counsel) absent leave of Court.

      b. Required Materials: A motion for summary judgment must
         include a memorandum of law in support and a specifically
         captioned section titled, “Statement of Material Facts” in a
         single document not to exceed the page limits above. The
         statement of material facts must list each material fact alleged
         not to be disputed in separate, numbered paragraphs. Each
         fact must be supported by a pinpoint citation to the specific
         part of the record relied on to support that fact. Failure to
         submit a statement of material facts constitutes
         grounds to deny the motion.

         An opposition to a motion for summary judgment must include a
         memorandum of law and a specifically captioned section titled,
         “Response to Statement of Material Facts” in a single document
         not to exceed the page limits above. The opposing party’s
         response to the statement of material facts must mirror the
         statement of material facts by admitting and/or denying each of
         the moving party’s assertions in matching numbered paragraphs.
         Each denial must set forth a pinpoint citation to the record
         where the fact is disputed. Although the opposing party’s
         response must correspond with the paragraph scheme used in the
         statement of material facts, the response need not repeat the text
         of the moving party’s paragraphs. In deciding a motion for
         summary judgment, any fact that the opposing counsel or
         party does not specifically controvert and not otherwise


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           included in the Response to Statement of Disputed
           Material Facts may also be deemed undisputed if
           supported by record evidence.

           When citing to the record, the parties should first use any
           CM/ECF designated document number and page number
           throughout the briefs. Where no CM/ECF citation is available,
           a specific format like “Ex. 1., p.2” should be used throughout
           the brief. Further, a general reference to a deposition is
           inadequate—the page and line number of the deposition
           transcript must be included. For example, a general reference
           to “Deposition of Jones” is insufficient.

        c. Deposition Transcripts as Exhibits: If depositions are filed to
           support a motion for summary judgment, the Court prefers the
           deposition be filed in its entirety (a condensed version is
           acceptable) with exhibits.

        d. Exhibit Index: A motion for summary judgment or a response
           with exhibits totaling over 10 pages must include an index to
           the exhibits that lists the exhibit number and title of the
           exhibit. Counsel must file the index as the last attachment to
           the parent document. See “Exhibit Index” below for a sample
           exhibit index.

        e. Oral Argument: Unless specifically ordered, the Court will not
           hold oral argument on a summary judgment motion. If a party
           requests oral argument, it must do so in a separate document
           accompanying the party’s motion or response and stating the
           time necessary.

D. Sanctions

      A party who does not comply with this Order may be subject to
sanctions including reasonable attorneys’ fees and costs, striking of
pleadings, entry of default, dismissal, and a finding of contempt of court.
See 28 U.S.C. § 1927; Fed. R. Civ. P. 16(f), 37; M.D. Fla. R. 3.01(g)(3), 3.10,
4.03(e).




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ENTERED in Fort Myers, Florida on May 25, 2023.




Copies: All Parties of Record




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